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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

GEOGRAPHIC LOCATION                   §
INNOVATIONS LLC,                      §
                                      §
      Plaintiff,                      §                    Case No: 3:21-cv-01877-N
                                      §
vs.                                   §                    PATENT CASE
                                      §
7Cs FASHION HOUSE, LLC, d/b/a HUEB, §
                                      §
      Defendant.                      §
_____________________________________ §

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Geographic Location Innovations, LLC (“Plaintiff” and/or “GLI”) files this

Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Defendant 7Cs Fashion House, LLC d/b/a Hueb with prejudice, pursuant to Rule 41(a)(1)(A)(i)

with each party to bear its own fees and costs.




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                             |1
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 Dated: October 22, 2021.               Respectfully submitted,

                                        /s/Jay Johnson
                                        JAY JOHNSON
                                        State Bar No. 24067322
                                        D. BRADLEY KIZZIA
                                        State Bar No. 11547550
                                        KIZZIA JOHNSON, PLLC
                                        1910 Pacific Ave., Suite 13000
                                        Dallas, Texas 75201
                                        (214) 451-0164
                                        Fax: (214) 451-0165
                                        jay@kjpllc.com
                                        bkizzia@kjpllc.com

                                        ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
October 22, 2021, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.
                                         /s/Jay Johnson
                                         JAY JOHNSON




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                             |2
